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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,

                  Plaintiff,



v.                                   ORDER
                                     Criminal File No. 11-87 (MJD/JJK)

(1) JULIAN OKEAYAINNEH,
(4) NANA OSEI-TUTU,
(6) FATA LEETA SARNOR DAVID, and
(9) OLUGBENGA TEMIDAGO ADENIRAN,



                  Defendants.

     In the interest of efficiency and the administration of justice, and based

upon the files, records, and proceedings herein, IT IS HEREBY ORDERED:

     By 9:00 a.m., Tuesday, February 7, 2012, the Government shall provide to
     the Court, and to each defense counsel, an enhanced witness list. This
     enhanced witness list shall list each witness the Government intends to
     call, the counts of the Third Superseding Indictment that relate to that
     witness’s testimony, and a list of what exhibits will be coming in through
     that witness and/or will be reviewed by that witness.



Dated: February 6, 2012              s/ Michael J. Davis
                                     Michael J. Davis
                                     Chief Judge
                                     United States District Court
